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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA               )
                                       )
                      v.               )
                                       )   CRIMINAL NO. 14-10276-IT
JOHN WILLIAM CRANNEY, aka              )
JACK CRANNEY                           )
                    Defendant.         )


                             DEFENDANT JACK CRANNEY’S
                           AMENDED PROPOSED WITNESS LIST

     1. Julia Anderson
        Cedar City, Utah


     2. Peter Christoff
        Bradenton, Florida


     3. Joseph DePino
        Palm City, Florida


     4.    Louise Depino
          Palm City, Florida

     5. Donald Deschler
        Nebraska


     6. Paul and Laura Lagris
        Costa Mesa, California


     7. Donald Sykes
        Keene, New Hampshire
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      8. Kim Wright
         Denton, Texas or Las Vegas, Nevada


      9. Rhonda Woodman
         Essex, MA


      10. Burt Stillman
          Tucson, Arizona


      12. Kenneth Bradley
          Stoughton, MA

      13. Susan Long
          1402 Bastrop, TX

      14. Steve Woodman
          Essex, MA

      15. Sarah Alcorn
          Milton Village, MA
          Summary Witness

      16. Rodney Young
          Hingham, MA

      17. Steven Greenapple
          Cedar Knolls, NJ




                                                       Respectfully Submitted,

                                                       /s/JAMES BUDREAU
                                                       James Budreau
                                                       BBO# 553391
                                                       Bassil & Budreau
                                                       20 Park Plaza, Suite 1005
                                                       Boston, MA 02116
                                                       617-366-2200

                                  CERTIFICATE OF SERVICE

         I, James Budreau, do hereby certify that this motion has been filed electronically and
that it will be served electronically to registered ECF participants as identified on the Notice of
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Electronic Filing (NEF) on March 20, 2018.



                                             /s/ James Budreau
